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                                                                                            United States District Court
                                                                                              Southern District of Texas

                                                                                                 ENTERED
UNITED STATES DISTRICT COURT                                        SOUTHERN DISTRICT OFJune
                                                                                         TEXAS
                                                                                             04, 2020
                                                                                              David J. Bradley, Clerk

                   Motion and Order for Admission Pro Hac Vice

      Division            Houston                            Case Number             4:20-cv-00852

                                          John Thuesen, Petitioner


                                                    versus
                                          Lori Davis, Respondent



           Lawyer’s Name                  Glenn A. Danas
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 Name of party applicant seeks to                                   John Thuesen
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:        4/1/2020         Signed:    V*OHQQ$'DQDV



 The state bar reports that the applicant’s status is:   Active
               6/1/2020
 Dated:                         Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:               6/1/2020
                                                             United States District Judge
